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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                               )
IN RE: AQUEOUS FILM-FORMING                    )    MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                       )
LITIGATION                                     )    CASE MANAGEMENT ORDER NO. 19
                                               )
                                               )    This Order Relates to All Actions.
                                               )
                                               )
                                               )
                                               )

            Scheduling Order Governing First Water Provider Bellwether Trial

       This Case Management Order governs the schedule by which the Court will conduct the

first bellwether trial of the Water Provider cases. The Court hereby orders:

       1.   Tier Two discovery: The parties shall complete Tier Two discovery by January 21,
            2022.

       2.   Expert disclosures: Plaintiff shall submit its expert disclosures by February 11,
            2022. Defendants shall submit their expert disclosures by February 25, 2022.
            Rebuttal expert reports shall be submitted by March 11, 2022.

       3.   Expert discovery: The parties shall complete expert depositions by April 13, 2022.

       4.   Summary judgment and Daubert motions: The parties shall file motions for
            summary judgment and Daubert motions by June 1, 2022. Response in opposition
            briefs shall be filed by July 1, 2022. Reply in support briefs shall be filed by July
            15, 2022.

       5.   Recommendation of first bellwether case for trial: The parties shall file their
            recommendation, with supporting memoranda, of the first bellwether case for trial
            by September 15, 2022.

       6.   Designation of first bellwether case for trial: The Court will designate the first
            bellwether case for trial by September 30, 2022.

       7.   Pretrial motions: The parties shall file pretrial motions and motions in limine by
            October 14, 2022. Response in opposition briefs shall be filed by October 21, 2022.
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       8.   Pretrial disclosures: The parties shall file and exchange Fed. R. Civ. P. 26(a)(3)
            pretrial disclosures twenty-one (21) days prior to the date of jury selection. Within
            fourteen (14) days thereafter, a party shall file and exchange Rule 26(a)(3)
            objections, any objections of a deposition designation by another party, and any
            deposition counter-designations, pursuant to Rule 32(a)(4).

       9.   Pretrial briefs: The parties shall furnish the Court with and serve their pretrial briefs
            ten (10) business days prior to the date of jury selection (Local Civil Rule 26.05).
            At least five (5) business days prior to this deadline to submit pretrial briefs, counsel
            shall meet to exchange and mark all exhibits (Local Civil Rule 26.07).

       10. Trial: This case is subject to being called for jury selection and/or trial on or after
           January 1, 2023.

       AND IT IS SO ORDERED.


                                                      s/ Richard Mark Gergel
                                                      Richard Mark Gergel
                                                      United States District Judge

August 11, 2021
Charleston, South Carolina




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